                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION
                                 Case No. 7:23-cv-897

IN RE:                                         )
                                               )            UNITED STATES’ NOTICE OF
CAMP LEJEUNE WATER LITIGATION                  )           REVISED TRACK 1 DISCOVERY
                                               )             PLAINTIFFS SELECTION
This Document Relates To:                      )
ALL CASES                                      )


         Pursuant to this Court’s January 19, 2024 Order, D.E. 116, the United States respectfully

submits this Revised Track 1 Discovery Plaintiffs Selection. The Revised Track 1 Discovery

Plaintiffs Selection removes previously selected Plaintiffs who were selected by the United States

for the Track 1 Discovery Pool. It replaces those selections with Plaintiffs who are not opted-out

from Track 1 discovery.

         The United States’ revised selections are as follows (newly selected cases are marked with

an asterisk):


                                            Leukemia

 Plaintiffs’ Leadership’s Selections                   Defendant’s Selections

 James Boggess           7:23-cv-00242-BO              Thomas A. Bosco     7:23-cv-00994-FL
 Marvin Braxton          7:23-cv-01568-FL              Gary James Cooper 7:23-cv-00576-FL
 Vivian Connard          7:23-cv-01557-M               Robert Fiolek       4:23-cv-00062-BO
 Lancee Flee             7:23-cv-01529-BO              Mary Holmberg       7:23-cv-01014-FL
 Joseph Gleesing         7:23-cv-01486-FL              *Karen Marie Amsler 7:23-cv-00284-BO
 David Gregory           7:23-cv-01485-FL              Susan McBrine       7:23-cv-00532-M
 Bruce Hill              7:23-cv-00028-M               *Linda Susan Tootle 7:23-cv-01089-D
 Terry Roof              7:23-cv-01003-M               Diane E. Stacy      7:23-cv-01449-FL
 William Smith           7:23-cv-01528-BO              Larry Wayne Tucker 7:23-cv-01577-M
 Ronald Watts            7:23-cv-00280-BO              *James McQueen      7:23-cv-01467-FL




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                                      Bladder Cancer

Plaintiffs’ Leadership’s Selection              Defendant’s Selections

Cherie Bond          7:23-cv-01373-FL           Cory Buckley        7:23-cv-00885-BO
Jennie Brown         7:23-cv-00282-M            Brainerd W. Daniels 7:23-cv-01198-FL
Mark Cagiano         7:23-cv-00569-BO           Richard Grandchamp 7:23-cv-00804-M
Tom Ciotti           7:23-cv-00554-FL           William Hamilton    7:23-cv-00742-BO
Aubie Cooper         7:23-cv-00800-FL           James M. Herron     7:23-cv-01011-FL
Jefferson Criswell   7:23-cv-01482-BO           *Edward Raymond 7:23-cv-00546-BO
Stephen Dunning      7:23-cv-01364-FL           *Jimmy Laramore     7:23-cv-00594-FL
Terry Dyer           7:23-cv-00357-D            William Matis       7:23-cv-00767-M
Robert Green         7:23-cv-01510-D            Daniel McTiernan    7:23-cv-00535-BO
Shelly Larkins       7:23-cv-00096-BO           Gary Alan Motz      7:23-cv-01499-D


                                      Kidney Cancer

Plaintiffs’ Leadership’s Selection              Defendant’s Selections

Cary Algood          7:23-cv-01534-BO           Lawrence Critelli     7:23-cv-00435-D
Larry Cage           7:23-cv-01508-D            *David Downs          7:23-cv-01145-FL
David Fancher        7:23-cv-00275-M            *Joseph M. Renye      7:23-cv-01493-FL
Dino Favors          7:23-cv-00362-M            Harvey Gilchrist      7:23-cv-01571-D
Martin Keimig        7:23-cv-00215-FL           Ernest David Hunt     7:23-cv-00452-BO
Allan Howard         7:23-cv-00490-FL           Ronald Paul Lind, Jr. 7:23-cv-01518-M
Dennis Monroe        7:23-cv-00276-D            Andrew Przenkop       7:23-cv-01435-M
Frank Mousser        7:23-cv-00667-D            Benjamin Santana II 7:23-cv-01494-M
John Orue            7:23-cv-00277-BO           Jacqueline Tukes      7:23-cv-01553-BO
Thomas Small         7:23-cv-01496-D            Stephen Lee Woods 7:23-cv-01524-D


                               Non-Hodgkin’s Lymphoma

Plaintiffs’ Leadership’s Selections             Defendant’s Selections

Sharon Baker         7:23-cv-00957-BO           Andrew Bruggemann 7:23-cv-00567-M
Francis Carter       7:23-cv-01565-M            *Terrence Cleary     7:23-cv-01559-FL
Adam Davis           7:23-cv-01474-FL           Clark Collins        7:23-cv-01458-BO
Cometto Davis        7:23-cv-00043-BO           Kevin Goss           7:23-cv-00368-FL
Thomas Doup          7:23-cv-00232-M            Scott Keller         7:23-cv-01501-FL
John Kelly           7:23-cv-00286-FL           *Thomas W. Lynch 7:23-cv-01582-M
Robert Kidd          7:23-cv-01489-FL           *Charles F. Frazier 7:23-cv-01484-M
Kenneth Means        7:23-cv-01491-D            *Geoffrey A. Funk Sr.7:23-cv-01472-FL

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Rachel Phillips      7:23-cv-01383-D               *Charles Nolan      7:23-cv-01361-D
David Tomilson       7:23-cv-00063-BO              Jose Vidana         7:23-cv-01575-M


                                      Parkinson’s Disease

Plaintiffs’ Leadership’s Selections                Defendant’s Selection

Larry Bailey         7:23-cv-01506-M               Ronald Berube       7:23-cv-00782-M
Peter Ehlenberger    7:23-cv-00195-M               *James Scott        7:23-cv-01498-BO
James Harder         7:23-cv-01542-D               *Paul Puletz        7:23-cv-00197-BO
Jeffrey Lemon        7:23-cv-01551-BO              Bert Gregory        7:23-cv-01384-FL
Gary McElhiney       7:23-cv-01368-BO              David Hill          7:23-cv-01511-M
James Nichols        7:23-cv-00894-BO              *Frank Vogt         7:23-cv-01547-FL
Edgar Peterson IV    7:23-cv-01576-M               *David Petrie       7:23-cv-00202-D
Diane Rothchild      7:23-cv-00858-D               *Magdalena Frost    7:23-cv-01386-D
Terrance Shine       7:23-cv-00023-BO              Robert Welch        7:23-cv-01503-FL
Richard Sparks       7:23-cv-00682-M               Kent Wilson         7:23-cv-01563-M



      Respectfully submitted on January 26, 2024.


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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 26, 2024, a copy of the foregoing document was filed via

the Court’s ECF system and served on counsel of record through the ECF system.

                                            /s/ Anna Ellison
                                            ANNA ELLISON




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